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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )           4:11CR3101
                      Plaintiff,                   )
                                                   )
                                                   )       MEMORANDUM AND
        vs.                                        )          ORDER
                                                   )
JEANNA RENEE SPRINGER,                             )
                                                   )
                      Defendant.                   )
                                                   )


    Pending before me is the Amended Petition for Action on Conditions of Pretrial
Release, (filing no. 98), and the defendant’s oral motion to set this case for trial (filing no.
106).


    During the hearing on the Amended Petition which was held today, the defendant
admitted the allegations of the Amended Petition. Based on the information obtained
during the course of the detention hearing, the court finds that despite the presumption of
detention in this case, the court had permitted the defendant to be released on conditions,
but the defendant squandered that opportunity by repeatedly failing to comply with the
conditions of her release. Specifically, the defendant used methamphetamine and
marijuana, for which she was afforded inpatient drug treatment. Upon her release from
inpatient treatment, she again used mind-altering substances and failed to be forthright
with her supervising officer regarding her law enforcement contacts and drug use. The
defendant is therefore not a suitable candidate for supervision, and her further release will
pose a risk of harm to the public.


    The defendant’s trial was originally set to commence on December 5, 2011. The case
was removed from the trial docket pending a ruling on defendant’s motion to suppress.
After the hearing was held on the suppression motion, the defendant requested a change
of plea hearing. The motion to suppress was deemed withdrawn, and a change of plea
hearing was set for April 17, 2012. At the defendant’s request, the change of plea hearing
was continued to May 18, 2012. On May 18, 2012, the parties were not prepared for a
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change of plea hearing, but a hearing on defendant’s alleged pretrial release violations was
convened. The conclusion of that hearing was held today. The defendant was ordered
detained and she now requests a trial setting.


    At the defendant's request, the court will set this matter for trial. With the consent of
defense counsel, the time between now and the trial date will be excluded inasmuch as the
defendant's change of mind regarding entering a plea has disrupted the normal scheduling
practices of this court, and counsel’s ability to anticipate the need to prepare for trial,
including securing the attendance of trial witnesses. Accordingly,

    IT IS ORDERED:

    1)     Trial is set to begin at 9:00 a.m. on August 14, 2012, for a duration of four trial
           days before the before the Honorable John M. Gerrard in Courtroom 1, United
           States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
           Nebraska. Jury selection will be at the commencement of trial.

    2)     The time between May 18, 2012 and August 14, 2012 shall be deemed
           excludable time in any computation of time under the requirements of the
           Speedy Trial Act, for the reason that the parties require additional time to
           adequately prepare the case for trial, taking into consideration due diligence of
           counsel, the novelty and complexity of the case, and the fact that the failure to
           grant additional time might result in a miscarriage of justice. 18 U.S.C. §
           3161(h)(7)(A) & (B).

    3)     The above-named defendant shall be detained pending trial.

    4)     The court’s prior order, (filing no. 92), is withdrawn.


    DATED:        May 23, 2012                    BY THE COURT:


                                                  s/Cheryl R. Zwart
                                                  Cheryl R. Zwart
                                                  United States Magistrate Judge
